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11
                          UNITED STATES DISTRICT COURT
12
                        CENTRAL DISTRICT OF CALIFORNIA
13
14   IN RE SUBPOENA TO                            Misc. Case No. 2:18-mc-125
15
     IP-ECHELON PTY, LTD                          (Civil Action No. 1:17-cv-00365-LY)
16                                                (currently pending in the United States
17                                                District Court for the Western District of
                                                  Texas)
18
19
     Related Action:                              GRANDE COMMUNICATIONS
20                                                NETWORKS LLC’S MOTION TO
21   UMG RECORDINGS, INC. et al.,                 COMPEL THIRD PARTY IP-
                                                  ECHELON PTY, LTD TO COMPLY
22                Plaintiffs,                     WITH SUBPOENA TO TESTIFY
23                                                AND TO PRODUCE DOCUMENTS
             v.
24
25   GRANDE COMMUNICATIONS
     NETWORKS LLC,
26
27                Defendant.
28

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 1
                                      INTRODUCTION
 2
             Despite numerous but ultimately unsuccessful efforts to obtain cooperation
 3
     from third-party IP-Echelon Pty, Ltd (“IP-Echelon”), Movant Grande
 4
     Communications Networks LLC (“Grande”) seeks to enforce a federal subpoena
 5
     (attached as Ex. 1 to the Declaration of Nicholas B. Clifford) on IP-Echelon,
 6
     requiring the production of documents and appearance for a deposition in an
 7
     underlying secondary copyright infringement action pending in the Western
 8
     District of Texas, styled UMG Recordings, Inc., et al. v. Grande Communications
 9
     Networks LLC, No. 1:17-cv-00365-LY. The subpoena complied with FED. R.
10
     CIV. P. 45, was served on IP-Echelon with its outside counsel’s consent on June 5,
11
     2018,1 and commanded compliance in Los Angeles, California, where it is located.
12
             Three months later, after repeated telephone calls and emails between
13
     Grande’s counsel and IP-Echelon’s counsel which have achieved little other than
14
     delay, IP-Echelon has not produced a single document or agreed to a date for its
15
     deposition. Given the absence of remaining time in the discovery schedule in the
16
     underlying UMG v. Grande matter, Grande cannot wait any longer for IP-Echelon
17
     to fulfill its obligations in responding to Grande’s federal subpoena.
18
                                       BACKGROUND
19
             In the underlying copyright infringement action in the Western District of
20
     Texas, Plaintiffs are record companies who seek to hold Grande, an Internet
21
     service provider in Texas, secondarily liable for the alleged direct infringement of
22
     its subscribers. See generally Complaint, attached as Ex. 2 to Clifford Decl.
23
24   1
       IP-Echelon repeatedly dodged Grande’s attempts to serve process on its
25   Hollywood, CA office, forcing Grande to file a motion seeking authorize service of
     the subpoena by the United States Marshal in the Central District of California.
26   See ECF Doc. 94, UMG Recordings, Inc., et al. v. Grande Communications
     Networks LLC, No. 1:17-cv-00365-LY (W.D. Tex.). Several days after Grande
27   filed its motion, IP-Echelon’s outside counsel contacted Grande’s counsel and
     agreed to accept service of the subpoena. Accordingly, Grande withdrew its
28   motion.
                                                    1

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 1   Plaintiffs claim they used a copyright enforcement company called Rightscorp,
 2   Inc. (“Rightscorp”) to investigate and identify infringements by Grande subscribers
 3   over BitTorrent peer-to-peer file sharing systems and to provide notice thereof to
 4   Grande. Id. at ¶¶ 4, 43. Plaintiffs filed suit against Grande on April 21, 2017.
 5           According to its website (www.ip-echelon.com), IP-Echelon is a privately
 6   held company with offices in Hollywood, California and Melbourne, Australia that
 7   provides “data analytics and audience measurements on unauthorized distribution
 8   channels” regarding its clients’ content. See Ex. 3 to Clifford Decl. It monitors
 9   peer-to-peer networks for its clients’ content and gathers information about
10   infringing activity. Id. IP-Echelon sends out infringement notices and takedown
11   requests for some of the largest entertainment companies in the world. See Ex. 4 to
12   Clifford Decl.
13           According to a 2016 article (Ex. 5 to Clifford Decl., published at
14   https://torrentfreak.com/piracy-phishing-scam-targets-u-s-isps-subscribers-
15   160624/) on a blog called Torrentfreak.com, IP-Echelon was involved in an
16   infringement notice phishing scam, described more fully in the attached article.
17   The perpetrators sent fake IP-Echelon copyright infringement notices regarding
18   certain copyrighted material to an internet service provider (Cox
19   Communications), which then passed them on to its customers. Id. The notices
20   threatened the customers with legal action and monetary damages and offered
21   settlements through a link in the notice. Id. The article quoted IP-Echelon as
22   saying, “The notices are fake and not sent by us. It’s a phishing scam.” Id. IP-
23   Echelon explained that its infringement notices are digitally signed using the PGP
24   protocol “for ISPs to check authenticity.” Id. Grande has also received IP-Echelon
25   infringement notices, which include both authenticated, PGP-signed infringement
26   notices from IP-Echelon, as well as fake, non-PGP-signed notices which falsely
27   claim to be from IP-Echelon. See Ex. 6 and 7 to Clifford Decl.
28           In light of this phishing scam involving IP-Echelon and Grande, as well as
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 1   the similarity of IP-Echelon’s role in investigating and sending infringement
 2   notices regarding alleged BitTorrent-based infringements to the role played by
 3   Rightscorp for Plaintiffs in this case, Grande decided to subpoena IP-Echelon to
 4   produce certain documents and appear for a deposition. Grande served a subpoena
 5   (Ex. 1) on third-party IP-Echelon on June 5, 2018, seeking documents and
 6   testimony relating to this phishing scam, as described in the Torrentfreak.com
 7   article. The narrow focus of the subpoena is directed towards materials and
 8   testimony from IP-Echelon regarding these spoofed or faked notices, the
 9   investigation into the spoofed or fake notices, and the potential security procedures
10   associated with preventing spoofed or fake notices. See Ex. 1.
11           As reflected in IP-Echelon’s Objections to Deposition Subpoena and
12   Document Requests (attached as Ex. 8 to Clifford Decl.), served on June 22, 2018,
13   IP-Echelon objected to every single document request and refused to produce any
14   documents (“Responding Non-Party IPE will not be producing any documents.”).
15   Similarly, IP-Echelon objected to every deposition topic and refused to produce a
16   witness on any topic (“Responding Non-Party IPE will not be producing anyone to
17   testify.”). Id. To date, although IP-Echelon’s counsel has remained in
18   communication with Grande’s counsel, IP-Echelon has not complied with the
19   subpoena in any respect, nor has it sought relief from any court.
20           In the course of meeting and conferring with counsel for IP-Echelon
21   multiple times between June and September, Grande has repeatedly offered
22   extensions and other accommodations to ease the burden on IP-Echelon in
23   responding to the subpoena. Clifford Decl. at ¶¶ 11-12. For example, based on IP-
24   Echelon’s concern that the likely designee to testify on behalf of IP-Echelon is
25   located in Australia, Grande has offered to conduct the deposition via a video
26   conference service such as WebEx or Skype. Id. Grande has repeatedly explained
27   why it believes that IP-Echelon’s testimony and documents are relevant to the
28   underlying lawsuit against Grande and offered to narrow the scope of the subpoena
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 1   in order to avoid an undue burden on IP-Echelon. Id. Unfortunately, instead of
 2   responding to any of Grande’s suggestions or offers of accommodation, IP-
 3   Echelon never provided any substantive positions beyond its categorical objections
 4   (Ex. 5) and injected delay after delay.
 5                                     JURISDICTION
 6           Because the subpoena is directed to IP-Echelon at its Los Angeles place of
 7   business and it commands the production of documents and deposition testimony
 8   in Los Angeles, this Court has jurisdiction over this miscellaneous case seeking
 9   enforcement of the subpoena. See Fed. R. Civ. P. 45(f), Advisory Committee
10   Notes (2013 Amendment). Where the commanded party objects to a subpoena
11   duces tecum, Rule 45(d)(2)(B)(i) allows the serving party “[a]t any time, on notice
12   to the commanded person” to “move the court for the district where compliance is
13   required for an order compelling production or inspection.” Fed. R. Civ. P.
14   45(d)(2)(B)(i). The primary responsibility for enforcing Rule 45 subpoenas resides
15   in the district where compliance is required. Chambers v. Whirlpool Corporation,
16   No. 11-cv-1733-FMO-JCGx, 2016 WL 9451360, at *3 (C.D. Cal. Aug. 12, 2016).
17                                      ARGUMENT
18   I.      GRANDE’S SUBPOENA FOR IP-ECHELON DOCUMENTS AND
19           TESTIMONY IS REASONABLE IN SCOPE AND NARROWLY
20           TAILORED TO RELEVANT SUBJECT MATTER.
21           Grande sought documents directly related to the copyright infringement
22   claim against it. The following list summarizes the documents subpoenaed from
23   IP-Echelon:
24           1.    Agreements between IP-Echelon and the Plaintiffs/RIAA2 regarding
25                 Grande;
26           2.    Communications between IP-Echelon and the Plaintiffs/RIAA
27
             2
              The RIAA is the Recording Industry Association of America. All of the
28   plaintiffs in the underlying action are members of the RIAA.
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 1                 concerning Grande;
 2           3.    Documents relating IP-Echelon Notices to Grande;
 3           4.    Documents regarding how IP-Echelon detects infringement over P2P
 4                 networks;
 5           5.    Documents describe the functionality and operation of the IP-Echelon
 6                 System;
 7           6.    Negative feedback or criticism of the IP-Echelon System and/or IP-
 8                 Echelon Notices;
 9           7.    Documents describing flaws/problems with the IP-Echelon System;
10           8.    Documents regarding limitations in the IP-Echelon System’s ability to
11                 detect copyright infringement;
12           9.    Deficiencies/inaccuracies identified by ISPs regarding IP-Echelon
13                 Notices or the ability of the IP-Echelon System to detect copyright
14                 infringement;
15           10.   Documents reflecting actions taken by IP-Echelon regarding
16                 inaccuracies with IP-Echelon Notices;
17           11.   Communications between IP-Echelon and Rightscorp, Inc.;
18           12.   Communications with RIAA about problems with the IP-Echelon
19                 System and/or IP-Echelon Notices;
20           13.   Communications between IP-Echelon and TorrentFreak.com
21                 regarding fake or spoofed infringement notices, including those
22                 reflected in the June 24, 2016 article (https://torrentfreak.com/piracy-
23                 phishing-scam-targets-u-s-isps-subscribers-160624/);
24           14.   Documents reflecting IP-Echelon’s knowledge of fake or spoofed
25                 infringement notices
26           15.   Documents regarding IP-Echelon’s use of digital signatures using the
27                 PGP protocol on IP-Echelon Notices and the reasons for their use
28                 (e.g., “IPE notices are signed with PGP for ISPs to check
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 1                 authenticity”).
 2   See Ex. 1. Similarly, the following list summarizes the deposition topics on which
 3   Grande seeks testimony from IP-Echelon:
 4           1.    The methods used by the IP-Echelon system to monitor P2P networks
 5                 in order to identify copyright infringers;
 6           2.    The IP-Echelon System’s detection of P2P file sharing activity and
 7                 ability to identify the subscriber who has downloaded a copyrighted
 8                 work and to provide a IP-Echelon Notice to the ISP that provides
 9                 internet service to that same internet subscriber;
10           3.    IP-Echelon’s sending of IP-Echelon Notices to Grande;
11           4.    IP-Echelon’s association with the RIAA/members to send IP-Echelon
12                 Notices to Grande.
13           5.    IP-Echelon’s knowledge regarding Grande and its subscribers’ acts of
14                 infringement;
15           6.    The development and testing of the IP-Echelon System;
16           7.    The basis for IP-Echelon’s assertion(s) that a particular Grande
17                 Subscriber has committed copyright infringement copyrighted works
18                 belonging to an RIAA member;
19           8.    Any values, conditions, or other quantifiable measures that the IP-
20                 Echelon System detects or utilizes in order to identify an alleged
21                 infringer or send a IP-Echelon Notice;
22           9.    Flaws with the IP-Echelon System and IP-Echelon Notices;
23           10.   IP-Echelon’s knowledge of inaccuracies in IP-Echelon Notices sent to
24                 an ISP;
25           11.   Communications from ISPs identifying legal and/or factual issues
26                 with IP-Echelon Notices and/or the IP-Echelon System;
27           12.   IP-Echelon’s remedies for problems with the IP-Echelon System or
28                 IP-Echelon Notices;
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 1           13.   Relationships between IP-Echelon and any of the Plaintiffs;
 2           14.   Relationships between IP-Echelon and the RIAA;
 3           15.   IP-Echelon’s compensation regarding any legal proceeding against
 4                 Grande and/or Patriot;
 5           16.   Communications between IP-Echelon and TorrentFreak.com
 6                 regarding fake or spoofed infringement notices, including those
 7                 reflected in the June 24, 2016 article (https://torrentfreak.com/piracy-
 8                 phishing-scam-targets-u-s-isps-subscribers-160624/);
 9           17.   IP-Echelon’s knowledge of fake or spoofed infringement notices;
10           18.   IP-Echelon’s use of digital signatures using the PGP protocol on IP-
11                 Echelon Notices and the reasons for their use (e.g., “IPE notices are
12                 signed with PGP for ISPs to check authenticity”).
13           19.   The substance of the documents produced pursuant to the subpoena;
14           20.   IP-Echelon’s efforts to locate responsive documents and prepare a
15                 witness to provide testimony in response to this subpoena.
16   These materials serve two key purposes relevant to the underlying case against
17   Grande. First, because Grande’s policies require that infringement notices sent to
18   it must contain PGP digital signatures, it wants to authenticate IP-Echelon’s quoted
19   statements in the Torrentfreak.com article about using PGP digital signatures,
20   along with testimony about why IP-Echelon uses PGP digital signatures. This
21   testimony may present important contradictions to the evidence regarding
22   Rightscorp, the copyright enforcement company used by Plaintiffs allegedly to
23   investigate infringement by Grande subscribers and to provide infringement
24   notices to Grande, which refused to use PGP digital signatures. Second, Grande
25   intends to explore the nature of and limitations in the IP-Echelon System for
26   detecting infringement and providing notices of that infringement. This testimony
27   will also present important evidence that will differentiate it from the system used
28   by Rightscorp to detect infringement and provide infringement notices.
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 1 II.       IP-ECHELON’S OBJECTIONS SHOULD BE OVERRULED.
 2           In response to these document requests in the IP-Echelon subpoena, IP-
 3   Echelon served extensive objections, including four pages of general objections
 4   and generic, boilerplate objections for each request and deposition topic. See Ex.
 5   8. All IP-Echelon’s responses and objections are essentially identical. None of the
 6   objections to the requests or deposition topics state any reasoning or factual
 7   support specific to the request or the deposition topic. Id. IP-Echelon’s objections
 8   are improper and should be rejected.
 9           It is well established jurisprudence that general or boilerplate objections
10   such as “overly burdensome” and “oppressive” are improper—especially when a
11   party fails to submit any evidentiary declarations supporting such objections.
12   Paulsen v. Case Corp., 168 F.R.D. 285, 289 (C.D. Cal. 1996); see also McLeod,
13   Alexander, Powel & Apffel, P.C. v. Quarles, 894 F.2d 1482, 1485 (5th Cir.1990)
14   (objections that document requests were overly broad, burdensome, oppressive,
15   and irrelevant were insufficient to meet objecting party’s burden of explaining why
16   discovery requests were objectionable); Panola Land Buyers Ass'n v. Shuman, 762
17   F.2d 1550, 1559 (11th Cir.1985) (conclusory recitations of expense and
18   burdensomeness are not sufficiently specific to demonstrate why requested
19   discovery is objectionable). Similarly, boilerplate relevancy objections, without
20   providing any explanation or argument why the requested documents are not
21   relevant, are improper. A. Farber and Partners, Inc. v. Garber, 234 F.R.D. 186,
22   188 (C.D. Cal. 2006).
23           Moreover, when claiming attorney-client privilege or work product
24   objection, “a party must adequately describe the withheld material without
25   revealing privileged or protected information to allow the propounding party to
26   assess the objection.” Rogers v. Giurbino, 288 F.R.D. 469, 480 (S.D. Cal. 2012)
27   (citing Fed. R. Civ. P. 26(b)(5)(A)(ii)). “Merely providing a boilerplate assertion
28   of privilege is insufficient.” Id. (citing Burlington N. & Santa Fe Ry. v. U.S. Dist.
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 1   Court, 408 F.3d 1142, 1147 (9th Cir.2005)).
 2            IP-Echelon’s perfunctory discovery objections do not explain why Grande’s
 3   discovery requests are overly burdensome or oppressive. Instead, IP-Echelon’s
 4   objections are bald conclusions that appear copied and pasted. Moreover, the
 5   responses do not describe the withheld material IP-Echelon believes is attorney
 6   work product or subject to the attorney-client privilege. As such, IP-Echelon’s
 7   boilerplate objections are inappropriate, tantamount to no objection at all. See
 8   Walker v. Lakewood Condo. Owners Ass'n, 186 F.R.D. 584, 587 (C.D. Cal. 1999)
 9   (“Boilerplate, generalized objections are inadequate and tantamount to not making
10   any objection at all.”). “It is well established that ‘all grounds for objections to
11   [discovery] must be stated with specificity [in the initial response] or the objection
12   is waived[.]’” Lofton v. Verizon Wireless (VAW) LLC, 308 F.R.D. 276, 281 (N.D.
13   Cal. 2015) (citations omitted). “If there is no legitimate basis to resist discovery,
14   the attempt to evade disclosure through reliance on boilerplate objections is an
15   abuse of the discovery process.” Marti v. Baires, No. 08-cv-00653-AWI-SKO,
16   2012 WL 2029720, at *7 (E.D. Cal. Jun. 5, 2012) (emphasis in original).
17            To date, IP-Echelon has not produced any documents, has not appeared for a
18   deposition, but has not sought a protective order or other relief from the subpoena.
19   Given IP-Echelon’s stated refusal to produce documents or appear for a deposition,
20   Grande has been forced to seek relief from this Court. See Lofton, 308 F.R.D. at
21   280 (“If the party requesting discovery is dissatisfied with any of the responses, the
22   party may move to compel further responses.”); Marti, 2012 WL 2029720, at *6
23   (overruling the defendant’s boilerplate objections and granting the plaintiff’s
24   motion to compel a response).
25   ///
26   ///
27   ///
28   ///
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 1                                      CONCLUSION
 2           For the foregoing reasons, Grande respectfully requests that the Court grant
 3   this Motion to Compel, issue an order compelling IP-Echelon to produce all
 4   responsive documents immediately and to produce a knowledgeable authorized
 5   witness for a deposition within ten days of its document production, and for such
 6   other and further relief as the Court deems appropriate.
 7
 8
     Dated: September 14, 2018.
 9
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